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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

IN RE:                                        §
                                              §
REAGOR-DYKES MOTORS, LP et al                 §       Case No. 18-50214-rlj-11
                                              §       Jointly Administered
Debtors                                       §

REAGOR AUTO MALL LTD.;            §
REAGOR-DYKES AMARILLO, LP;        §
REAGOR-DYKES FLOYDADA, LP;        §
REAGOR-DYKES IMPORTS, LP;         §
REAGOR-DYKES AUTO COMPANY, LP §
REAGOR-DYKES PLAINVIEW, LP;       §
REAGOR-DYKES MOTORS, LP; and      §
REAGOR-DYKES SNYDER, LP,          §
     Plaintiffs                   §
                                  §
V.                                §                   Adversary No. 20-05002-rlj
                                  §
FIRSTCAPITAL BANK OF TEXAS, N.A., §
     Defendant.                   §


                               AGREED PROTECTIVE ORDER

         Before the Court is the Parties’ Joint Motion for Entry of a Protective Order (“Joint

Motion”) wherein the Parties agree and respectfully request that the Court enter the following

Agreed Protective Order (the “Protective Order”) to facilitate discovery while protecting

confidential and proprietary information that may be produced in discovery. Based on the Joint

Motion, pleadings and other documents on file, and applicable legal authorities, the Court is of the

opinion that this case will likely involve the disclosure of confidential and proprietary information

and, therefore, good cause exists to grant the Joint Motion. Accordingly, the Joint Motion is hereby

GRANTED and IT IS THEREFORE ORDERED as follows:

I.       Confidential Materials
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        1.         This Protective Order governs the use of “Confidential Materials,” which shall refer

to information, documents, and other materials provided during the course of discovery in this

action designated as “CONFIDENTIAL” or “ATTORNEY EYES ONLY” as set forth below.

Confidential Materials shall be used solely for purposes of prosecuting or defending this litigation

between the Parties and for no other purpose without leave of court.

        2.         Any information, document, or other material designated as “CONFIDENTIAL”

or “ATTORNEY EYES ONLY” shall not be made available by a Party to any person or entity

other than Qualified Persons (as defined in paragraph 8 below). However, a Party may disclose

its own Confidential Materials to anyone it chooses without restriction of this Protective Order.

        A.         Designation Criteria for “CONFIDENTIAL” Information

        3.         “CONFIDENTIAL” information, as used herein, means any type or classification

of non-public information, whether it be a document, information contained in a document,

information revealed during a deposition, or information revealed in an interrogatory answer or

otherwise, which is comprised of or contains a trade secret or other confidential research,

development, or commercial information that is not publicly known and is of technical or

commercial advantage to its possessor, in accordance with Rule 26(c) of the Federal Rules of Civil

Procedure, sensitive personal information that is generally kept private, or other information

required by law or agreement to be kept confidential.

        B.         Designation Criteria for “ATTORNEY EYES ONLY” Information

        4.         “ATTORNEY EYES ONLY” information, as used herein, means any type or

classification of non-public information, whether it be a document, information contained in a

document, information revealed during a deposition, or information revealed in an interrogatory

answer or otherwise, which the disclosing party believes in good faith would, or might reasonably




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have a tendency to, cause harm to the business operations of the disclosing party or provide

improper advantage to others, if disclosed to the public or without the restrictions set forth herein

for such information or information that is especially sensitive. In designating information as

“ATTORNEY EYES ONLY,” the disclosing party will make such designation only as to that

information that it in good faith believes contains or constitutes “ATTORNEY EYES ONLY.” No

one other than (a) Trial Counsel as identified in paragraph 7 of this Order, and (b) independent

experts, pursuant to the procedures set forth in paragraph 8, shall have access to information

designated “ATTORNEY EYES ONLY.”                    “ATTORNEY EYES ONLY” information may

include, but does not automatically include, the following and any drafts thereof:

        a.         Financial, pricing, profit, sales, and cost information and data;

        b.         Financial statements;

        c.         Marketing plans, business plans, and strategic plans;

        d.         Confidential settlement agreements and license agreements;

        e.         Personnel records;

        f.         Confidential customer identities and/or information, except for the Plaintiffs;

        g.         Information that is protected by law and other sensitive information that, if not
                   restricted, may subject the producing or disclosing Party to legal liability to a third
                   person; and

        h.         Other items not generally known to the public at-large and/or competitors in the
                   relevant industry or marketplace, whether technical or non-technical in nature,
                   which the disclosing party in good faith believes should be designated as
                   “ATTORNEY EYES ONLY.” For example, such items might include a party’s
                   source code, vendor information, research and development, or other non-public
                   information that if disclosed to the opposing party or those working with the
                   opposing party might cause competitive injury.

        C.         General Criteria Regarding Confidential Materials

        5.         Correspondence, communications, and information provided between the Parties

or with third parties may be designated as Confidential Materials if made or provided with the



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understanding or reasonable expectation that the information would not become generally

available to the public.

          6.       Confidential Materials do not include information which the receiving Party can

affirmatively show to the Court (a) was known to the receiving Party before disclosure hereunder;

(b) is part of the public domain (i.e., has been disclosed to or is known to third parties not under

restriction of confidentiality) or becomes part of the public domain through no breach of the

provisions of this Protective Order; (c) is independently developed by the receiving Party through

employees having no access or prior access to the same Confidential Materials disclosed

hereunder; or (d) is disclosed to the receiving Party by a third party, which disclosure does not

breach any obligations of confidentiality owed by the third party.

II.       Trial Counsel

          7.       “Trial Counsel” as used herein means only:

                   a.      The attorneys and employees of SCHIFFER HICKS JOHNSON PLLC and
                           LIGGETT LAW GROUP, P.C. and any other counsel that enters an
                           appearance in this case and becomes responsible for this litigation on behalf
                           of Plaintiff;

                   b.      The attorneys and employees of SPROUSE SHRADER SMITH PLLC, and
                           any other counsel that enters an appearance in this case and becomes
                           responsible for this litigation on behalf of Defendant FirstCapital; and

                   c.      The attorneys and employees of any counsel who appear on behalf of any
                           later-added party and becomes responsible for this litigation on behalf of
                           the later-added party.

III.      Qualified Persons

          8.       “Qualified Person” as used herein means:

                   a.      For information designated “ATTORNEY EYES ONLY”:

                         i.   Trial Counsel;

                        ii.   The Court;




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                        iii.     Any person employed by Trial Counsel as an independent expert
                                 (whether serving in a testifying or consulting capacity) who agrees in
                                 writing to be bound by the terms of this Protective Order, by executing
                                 a copy of Exhibit A attached hereto, provided he or she (i) is not a
                                 current or former shareholder, officer, director, employee or agent of a
                                 Party, (ii) has no financial interest in the outcome of this lawsuit, and
                                 (iii) has not engaged in, is not currently engaged in, and is not likely to
                                 be engaged in a competitive business activity with either Party;

                        iv.      Any mediator appointed by the Court or agreed to by the Parties, but
                                 only after agreeing to be bound by the terms of this Protective Order by
                                 executing a copy of Exhibit A attached hereto;

                         v.      Independent litigation support vendors and services retained by Trial
                                 Counsel who are reasonably necessary to assist Trial Counsel with the
                                 litigation of this lawsuit who agree in writing to be bound by the terms
                                 of this Protective Order, by executing a copy of Exhibit A attached
                                 hereto, including, without limitation, persons working for or as court
                                 reporters or videographers, graphic or design services, jury or trial
                                 consulting services, or photocopy, document imaging, document
                                 review, or database services; and

                        vi.      Any other person who is designated as a Qualified Person with respect
                                 to “ATTORNEY EYES ONLY” information by an agreement of Trial
                                 Counsel or by Order of this Court, after notice to all Parties.

                   b.         For information designated “CONFIDENTIAL”:

                          i.     The persons identified in subparagraph 8(a);

                        ii.      For a Party that is an entity, officers, directors, partners, and employees
                                 of a Party who are reasonably necessary to assist Trial Counsel in this
                                 case who agree to be bound by the terms of this Protective Order by
                                 executing a copy of Exhibit A attached hereto;

                        iii.     Any natural person who is a Party; and

                        iv.      Any other person who is designated as a Qualified Person by agreement
                                 of Trial Counsel or by Order of this Court, after notice to all Parties.

IV.     Marking/Designating Confidential Materials

        9.         Documents and things produced which contain Confidential Materials shall be

designated as such by marking each page of the document or thing so designated with a stamp at

or before the time of production indicating that the information is “CONFIDENTIAL” or



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“ATTORNEY EYES ONLY.” 1 In lieu of marking the original of documents, a producing Party

may mark the copies that are produced or exchanged.

         10.       When a Party produces a file in Native Format, the Party shall also produce a

placeholder/coversheet tiff or .pdf image for the file, which shall contain an endorsement stating

that the document has been produced natively (such as “Produced Natively” or “This File Produced

Natively”), along with the applicable Bates number. For a file produced in Native Format that

contains Confidential Materials, a party shall designate the file as containing Confidential

Materials by stamping the file’s placeholder/coversheet tiff or .pdf image as “CONFIDENTIAL”

or “ATTORNEY EYES ONLY,” as applicable.

         11.       The Parties may agree on any other form of marking/designating Confidential

Materials as they deem appropriate and practicable.

V.       Designation of Depositions as Confidential Materials

         12.       Information disclosed at a deposition may be designated as “CONFIDENTIAL” or

“ATTORNEY EYES ONLY” by indicating on the record at the deposition that the testimony is

“CONFIDENTIAL” or “ATTORNEY EYES ONLY” and subject to the provisions of this

Protective Order. A Party may also designate additional information disclosed at such deposition

which is to be deemed as “CONFIDENTIAL” or “ATTORNEY EYES ONLY” by notifying all

other Parties in writing, within thirty (30) days of receipt of the transcript (not including any rough

drafts of the transcript), of the specific pages and lines of the transcript which contain the protected

information. Each Party shall attach a copy of such written statement to the face of the transcript

and each copy thereof in his possession, custody, or control.




1
  A party may designate a document as “ATTORNEY EYES ONLY” by stamping each page of the document as
“ATTORNEY EYES ONLY,” “AEO,” or “A.E.O.”



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        13.        If any additions, corrections, changes, or supplements are made to deposition

testimony via an errata sheet or otherwise, a Party may also designate any information disclosed

in such additional or revised testimony as “CONFIDENTIAL” or “ATTORNEY EYES ONLY”

by notifying all other Parties in writing, within thirty (30) days of receipt of the additional or

revised testimony, of the specific testimony which contains the protected information.

        14.        Except for use during live court proceedings, (i) all information disclosed in a

deposition shall be treated as if it had been designated as “ATTORNEY EYES ONLY” from the

date the deposition is taken until the expiration of thirty (30) days from the date the transcript of

the deposition is received by the Party to whom the information belongs (not including any rough

drafts of the transcript), and (ii) all additions, corrections, changes, or supplements to deposition

testimony made via an errata sheet or otherwise shall be treated as if they had been designated as

“ATTORNEY EYES ONLY” from the date made until the expiration of thirty (30) days from the

date the revised testimony is received by the Party to whom the information belongs via an errata

sheet or otherwise.

VI.     General Use and Disclosure of Confidential Materials

        15.        Any documents, materials, or information designated as “CONFIDENTIAL” or

“ATTORNEY EYES ONLY” shall not be used by the Party receiving the same for any purpose

other than in connection with this litigation, and shall not be disclosed except in accordance with

the terms hereof.

        16.        Any documents, materials, or information designated as “CONFIDENTIAL” or

“ATTORNEY EYES ONLY” shall not be used by any Party or provided to any third-party for use

in connection with any other pending litigation.




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        17.        Confidential Materials shall not be disclosed or made available by a receiving Party

to persons other than Qualified Persons except as necessary to comply with applicable law or a

valid order of a court of competent jurisdiction; provided, however, that in the event of a disclosure

compelled by law or a court order, the receiving Party will so notify the producing Party as

promptly as practicable (if at all possible, prior to making such disclosure) and shall seek a

protective order preventing such disclosure and, in the alternative, confidential treatment of such

information.

        18.        Nothing shall prevent disclosure beyond the terms of this Protective Order if the

Party designating the information as “CONFIDENTIAL” or “ATTORNEY EYES ONLY”

consents to such disclosure, or if the Court, after notice to all Parties, orders such disclosure.

VII.    Use and Disclosure of Confidential Materials During Depositions

        19.        Trial Counsel shall have the right to exclude from a deposition any person who is

not authorized to receive “CONFIDENTIAL” or “ATTORNEY EYES ONLY” information, as

applicable, under this Protective Order, but such right of exclusion shall be applicable only during

periods of examination or testimony during which such Confidential Materials are being used or

discussed.

        20.        In addition to those persons who may receive Confidential Materials under

paragraph 8 above:

        a.         A present employee or representative of a Party may be examined and may testify
                   concerning all documents and information designated as Confidential Materials by
                   that Party;

        b.         A former employee, associate, representative, or consultant of a Party may be
                   examined and may testify concerning all documents and information designated as
                   Confidential Materials by that Party to which said former employee, associate,
                   representative, or consultant had access during the period or periods of employment
                   or association with that Party; and

        c.         Non-parties who had any contact or relationship with a Party, or a representative of


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                   such Party, may be examined and may testify concerning any documents or
                   information designated as Confidential Materials which appears on its face to have
                   been received by or communicated to the non-party (other than in violation of a
                   duty of confidentiality owed to the producing Party).

VIII. Use and Disclosure of Confidential Materials During Live Court Proceedings

         21.       Nothing in this Protective Order shall be deemed to prevent a Party from

introducing any Confidential Materials into evidence at a hearing or trial in this lawsuit, or from

using any such information at a hearing or trial in this lawsuit, subject to any pretrial or other order

issued by this Court.

IX.      Responsiveness or Proportionality of Materials that Would Constitute Confidential
         Materials

         22.       Nothing in this Protective Order shall be deemed to prevent a Party from objecting

to the production of information, and the Parties’ agreement that information, documents, and

other materials provided during the course of discovery may be designated as Confidential

Materials does not constitute any agreement that any category of information, documents, or other

materials are relevant, responsive, or proportional to the needs of the case.

X.       Filing of Confidential Materials in this Proceeding

         23.       If any Party wishes to submit Confidential Materials to the Court, the submission

must be filed only under seal on CM/ECF if filed electronically or if filed in hard copy in a sealed

envelope bearing the caption of this action and a notice in the following form:

                                             CONFIDENTIAL MATERIALS

 Reagor Auto Mall, Ltd., et al. v. FirstCapital Bank of Texas, N.A., No. 18-50214-rlj-11, Adv. No. 20-5002-rlj, in the United

                         States Bankruptcy Court, Northern District of Texas, Lubbock Division

                                       This envelope, which is being filed under seal,

                                    contains documents that are subject to a Protective

                                Order governing the use of confidential discovery material.




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        24.        The clerk of this Court is directed to maintain under seal all documents, transcripts

of deposition testimony, answers to interrogatories, admissions, and other papers filed under seal

in this litigation that have been designated, in whole or in part, as Confidential Materials by any

Party to this litigation consistent with the sealing requirements of the Court.

XI.     Unintentional Failure to Designate Confidential Materials

        25.        In the event that, at the time a document is produced, the designation

“CONFIDENTIAL” or “ATTORNEY EYES ONLY” is lacking, and the producing Party later

determines that such a designation should have appeared on the document, the producing Party

may restrict future disclosure of the document, consistent with this Protective Order, by notifying

the receiving Party in writing of the change in, or addition of, a restrictive designation. The notice

shall include a sufficiently identifying description of the document (by Bates number if possible)

and the designation under which future disclosure of the documents or information is to be

governed, and the receiving Party shall make all reasonable efforts to prevent any further review

or disclosure of the Confidential Materials by any unauthorized person who received them prior

to the designation.

XII.    Confidential Materials from Third Parties

        26.        Should any Party to this litigation obtain documents or materials from a third party,

by subpoena or otherwise, which appear to be Confidential Materials of another Party to this

litigation, such documents shall be treated as “CONFIDENTIAL” or “ATTORNEY EYES

ONLY,” as applicable, by the receiving Party under this Protective Order, unless otherwise

expressly released in writing by the Party that is the owner of such Confidential Materials.




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XIII. Challenging a Designation

        27.        A Party shall not be obligated to challenge the propriety of a confidential

designation at the time made, and failure to do so shall not preclude a subsequent challenge thereto.

In the event that any Party to this litigation disagrees at any stage of these proceedings with the

designation of any information as confidential, the Parties shall try first to resolve such dispute in

good faith on an informal basis. If the dispute cannot be resolved, the objecting Party may seek

appropriate relief from this Court. No disclosure of designated Confidential Materials inconsistent

with the obligations of this Protective Order shall be made unless and until the Court orders such

disclosure.

XIV. Return or Destruction of Confidential Materials

        28.        Within sixty (60) days after the final resolution of this litigation (which includes

the conclusion of any appeals taken in the action), unless the Parties agree in writing to the

contrary, any originals or reproductions of any Confidential Materials produced by a Party,

including electronic copies, shall be returned to the producing Party or destroyed. If a receiving

Party elects to destroy copies of Confidential Materials, the receiving Party shall certify in writing

that said documents have been destroyed within the sixty (60) day time period. However, Trial

Counsel shall be entitled to retain for archival purposes one copy of pleadings, depositions and

exhibits thereto, correspondence, memoranda, notes, and other work product materials which

contain or refer to Confidential Materials. Any such information retained shall continue to be

subject to the protections of this Protective Order.




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XV.     Ongoing Obligations

        29.        Insofar as the provisions of this Protective Order restrict the communication and

use of the documents produced hereunder, this Protective Order shall continue to be binding after

the conclusion of this litigation.

XVI. Advice to Clients

        30.        Nothing in this Protective Order shall bar or otherwise restrict Trial Counsel from

rendering advice to his client with respect to this litigation and, in the course thereof, relying upon

the examination of Confidential Materials; provided, however, as part of rendering such advice,

Trial Counsel shall not disclose to his client the contents of any Confidential Materials produced

by another Party if such disclosure would be contrary to the terms of this Protective Order.

XVII. Unauthorized Disclosure of Confidential Materials

        31.        Should any Confidential Materials be disclosed, through inadvertence or otherwise,

to any person not authorized to receive them under this Protective Order, then the disclosing Party

shall use its best efforts to bind such person to the terms of this Protective Order. Specifically, the

disclosing Party shall (a) promptly inform such person of all the provisions of this Protective

Order; (b) promptly identify such person to the Party that designated the document as Confidential

Materials; and (c) request such person to sign the agreement in the form attached hereto as Exhibit

B. The executed agreement shall promptly be served by overnight mail upon the Party that

designated the document as Confidential Materials.

XVIII. Non-Waiver of Privileged Materials

        32.        With respect to matters of privilege, in accordance with Rule 26(b)(5)(B) of the

Federal Rules of Civil Procedure and Rule 502(d) of the Federal Rules of Evidence, inadvertent

disclosure of information protected by any privilege or work product doctrine in this case shall not




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result in the waiver of any associated privilege or protective doctrine nor result in a subject matter

waiver of any kind in this or any other federal, state, or other proceeding. If any such document

is inadvertently produced, the recipient of the document agrees that, upon request from the

producing party, it will promptly return all copies of the document in its possession, delete any

versions of the document on any database it maintains, and make no use of the information

contained in the document; provided, however, that the Party returning such document shall

thereafter have the right to apply to the Court for an order that such document was not protected

(prior to the inadvertent disclosure) by any privilege or doctrine.

XIX. Amendments and Modifications

        33.        Nothing in this Protective Order shall bar amendment of this Protective Order by

stipulation of the Parties or by Order of the Court. Any such amendment made by stipulation of

the Parties shall be made in writing.

XX.     Enforcement of Protective Order

        34.        This Protective Order will be enforced by the sanctions set forth in Rule 37(b) of

the Federal Rules of Civil Procedure and any other sanctions as may be available to the presiding

judge, including the power to hold parties or other violators of this Protective Order in contempt.

All other remedies available to any person injured by a violation of this Protective Order are fully

reserved.

SIGNED this ___ day of _______________, 2020.


                                                ______________________________________
                                                THE HONORABLE ROBERT L. JONES


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